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                                                                                             01/04/2019


                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES et al.,                        )
       Plaintiffs,                               )       Civil Action No. 3:17-cv-00072
                                                 )
  v.                                             )       ORDER
                                                 )
  JASON KESSLER et al.,                          )       By:    Joel C. Hoppe
       Defendants.                               )              United States Magistrate Judge

         This matter is before the Court on a second motion to withdraw as counsel for

  Defendants Matthew Heimbach and Robert Azzmador Ray, ECF No. 372, and Plaintiffs’ request

  to extend the deadline for fact discovery, ECF No. 393. On January 4, 2019, the Court held a

  conference call on the record, and counsel for Mr. Ray and Mr. Heimbach as well as counsel for

  Plaintiffs appeared. 1 For the reasons stated on the record during the hearing, it is hereby

  ORDERED:

         1.      The second motion to withdraw as counsel, ECF No. 372, is GRANTED with

  respect to Mr. Heimbach, and TAKEN UNDER ADVISEMENT with respect to Mr. Ray.

  During the hearing, counsel for Mr. Heimbach informed the Court that Mr. Heimbach recently

  terminated counsel’s services and cut off all communication with them. For good cause shown,

  counsel is permitted to withdraw as Mr. Heimbach’s counsel of record in this matter. W.D. Va.

  Gen. R. 6(i). Within seven (7) days from the date of this Order, counsel shall provide the Court

  and Plaintiffs’ counsel with Mr. Heimbach’s last known contact information. Counsel shall also

  inform Mr. Heimbach that Mr. Heimbach is currently not represented by any attorney in this

  matter. The Court continues to take counsel’s motion under advisement with respect to Mr. Ray.

  See ECF No. 388.


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   Mr. Ray and counsel for Defendant Richard Spencer also participated. Mr. Heimbach did not appear.
  See ECF Nos. 388, 389.
                                                     1
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         2.     For good cause shown, the deadline to complete fact discovery is extended to

  April 17, 2019. All other deadlines remain in effect. ECF Nos. 101, 328, 329.

         It is so ORDERED.

                                                      ENTER: January 4, 2019



                                                      Joel C. Hoppe
                                                      U.S. Magistrate Judge




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